Case 4:18-cv-00064-MFU-RSB Document 24 Filed 09/23/19 Page 1 of 1 Pageid#: 356
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 SH A W ON T.COLES,

       l3laitltiff

 V.                                               CivilA ction N o.4:18-CV-64

 BAN K O F AM ERICA,N .A .,
                                                  By: M ichaelF.U rbansld
       D efendant                                 ChiefUnited StatesDistrictJudge

                                       O RD E R

       Thepardesto thiscasehaveflled ajointsdptlladon ofdisnaissalputsuantto Rule
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 41(a)(1)(A)(ii)ofthe FedetalRulesofCivilPtocedute,advising thatthey have agreed to
 clisnaissthisacdonwithptejudice,wit.heachpartytobeartheirownattotneys'fees,expenses,
 and costs.Accordingly,thiscaseishereby DISM ISSED with prejudice and STW CKRN
 ftom the acdve docketofthe coutt.

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